     Case
      Case2:13-cr-00051-JAD-CWH
            2:13-cr-00051-JAD-CWH Document
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 4    Attorney for Defendant, BRUCE ROGAT
 5                              UNITED ST ATES DISTRICT COURT
                                     DISTRICT OF NEV ADA
 6
      UNITED STATES OF AMERICA                    )
 7                                                )
                            Plaintiff,            )
 8    v.                                          )       2: 13-CR-00051-JAD-CWH
                                                  )
 9    BRUCE ROGAT, et al.                         )
                                                  )
10                          Defendants.           )
                                                  )
11
                                          [PROPOSED] ORDER
12
             Having reviewed Defendant Bruce Rogat' s Unopposed Motion For Termination of
13
      Supervised Release Prior To Original Expiration Date, along with all papers and pleadings on
14
      file, the COURT HEREBY ORDERS said Motion, GRANTED.
15
             IT IS FURTHER ORDERED that Defendant Bruce Rogat's term of Supervised
16
      Release is hereby terminated.
17
             IT IS SO ORDERED.
18
           DATED  this_30th
            Dated this   _ day  of _January,
                            day of    _ _ _2017.
                                             _ _ _ , 2017.
19
20
21                                         UNITED ST ATES DISTRICT COURT JUDGE
22    Respectfully Submitted:

23    CHESNOFF & SCHONFELD
24    /s/ David Z. Chesnoff
      DAVID Z. CHESNOFF, ESQ.
25    Nevada Bar #2292
      520 South Fourth Street
26    Las Vegas, Nevada 89101
      Attorney for Defendant
27    BRUCE ROGA T
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